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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
LAFAYETTE DIVISION

UNITED STATES OF AMERICA Case No. 6:20-mj-00109

VERSUS

CHANCE JOSEPH SENECA MAGISTRATE JUDGE HANNA

 

AFFIDAVIT INSUPPORT OF CRIMINAL COMPLAINT

I, Daniel S. English, being first duly sworn, hereby depose and state as follows:
Introduction and Agent Background

1. lama Special Agent withthe Federal Bureauof Investigation (FBI) and have
been since September 2017. I am currently assigned to the New Orleans Field
Office, Lafayette Resident Agency, where I am tasked with investigating
criminal violations of federal law. Prior to being hired by the FBI, I was a
police officer with the Charleston Police Department (CPD) in South
Carolina. I was hired by CPD in August 2007 and was a detective in
automobile theft, robbery and homicide investigative units from 2012 to
2016. I have received training in investigative techniques and have testified
in local, state and federal court on numerous occasions. Specific to this
matter, I am the assigned case agent and have been involved since the FBI

became aware of the captioned criminal allegations.
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2. The facts in this affidavit come from my personal observations, training and
experience and information obtained from other agents and witnesses. This
affidavit is intended to show merely that there is sufficient probable cause
for the requested warrant and does not set forth all of my knowledge about
this matter.

Statutory Authority

3. Iam an investigative or law enforcement officer of the United States within
the meaning of Title 18, United States Code, Section 2510 (7), that is, an
officer of the United States empowered by law to conduct investigations of,
and to make arrests for, offenses enumerated in Title 18, United States Code,
Section 2516.

4, This affidavit is in support of an application for a federal complaint and
arrest warrant alleging Chance Seneca, hereinafter referred to as Seneca, is
in violation of Title 18, United States Code, Section 1201(a)(1). Title 18,
United States Code, Section 1201(a)(1) makes it a crime for anyone to
unlawfully seize, confine, inveigle, decoy, kidnap, abduct, or carry away and
hold for ransom or reward or otherwise any person, when the offender uses
any means, facility, or instrumentality of interstate or foreign commerce in
committing or in furtherance of the commission of the offense.

Statement of Probable Cause

5. On June 20, 2020, at 11:49 PM, Chance Seneca called 911 and was

transferred to an LPD dispatcher. Seneca told the dispatcher someone was

strangled and he was waiting outside his dad’s house to speak with officers.
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When the dispatcher asked what happened, Seneca made statements such
as, “I really fucked my life up tonight,” “It’s my fault,” “I didn’t want all this
to happen,” “I tried to control everything so good,” “It was going so well,” “I
don’t want to be killed,” and “I just want help.”

6. LPD responded to Seneca’s location of 401 Maryview Farm Road Lafayette,
Louisiana 70507. LPD found Seneca outside smoking a cigarette. After
entering the home, LPD located Holden White in an upstairs bathtub. White
was naked and severely injured. Officers reported seeing White’s wrists slit
to the bone and strangulation marks around his neck. Weapons, such as a
knife, ice pick, saw, and hammer, were seenin plainview around the bathtub,
which was located inside a bathroom connected to Seneca’s bedroom in the
home. LPD also found a vehicle outside, a white 2006 Toyota Corolla bearing
Louisiana license plate 119DPJ.

7. White was transported to Lafayette General Medical Center, where he was
intubated for several days. Seneca was transported to LPD headquarters and
Mirandized by Detective Andrea Pattison. Seneca agreed to waive his
Miranda rights and he made statements in an audio and video recorded
interview.

8. During the interview with Detective Pattison, Seneca disclosed that he lives
in Duson, Louisiana, with his mother and step-father. He also told Detective
Pattison that he has a room at the house where LPD found White, and that

the house is owned by his father.
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9. Seneca further explained to Detective Pattison that he met White on an
online social media/dating application called Grindr! and made
arrangements to hang out with White at Seneca’s father’s home. Seneca
stated that he knew he and White would be alone at the house because
Seneca’s father was working off-shore at the time. Seneca told Detective
Pattison that the proposed meeting was a pretext and that he intended to kill
and dismember White instead. Seneca said that he drove his car, the white
2006 Toyota Corolla, to White’s apartment, picked White up, and transported
White to Seneca’s father’s house. Seneca then explained that he convinced
White to put on handcuffs and join him in the bathroom adjoining Seneca’s
bedroom by proposing a sexual encounter. Once inside the bathroom, Seneca
strangled White from behind until White was unconscious. After the
strangulation, Seneca pulled White’s body into the bathtub, stripped his
clothing and slit his wrists witha knife. Seneca explained that he had hoped
to remove and preserve White’s hands but that he could not finish his plan
after seeing the bones of White’s wrists exposed under the flesh. Seneca
recalled crying during the attack and telling himself “not to bitch out.” Seneca
apologized to White for what was happening and repeatedly told him to “let
go... Tm setting you free.” Seneca eventually called 911 in a self-described

effort to be put into a mental institution. Before LPD arrived, Seneca deleted

 

1 Grindr is a geosocial networking and online dating application geared towards gay and bi-
sexual men. Grindr uses internet-based technology that allows its users to establish accounts
with Grindr, and users can then use their accounts to share written content, photographs,
location information and other information with Grindr users, and sometimes with the
general public.
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from his personal cell phone the Grindr messages he exchanged with White
in order to “get rid of things.”

10. At the conclusion of the interview, Seneca was charged with 2nd Degree
Attempted Murder by LPD and booked in the Lafayette Parish Corrections
Center.

11. On June 27, 2020, I confirmed with LPD that no attorney representations for
Seneca had been made. I then arranged an interview with Seneca by
coordinating with LPD Detective Chad Parker. Once at the Lafayette Parish
Corrections Center with Detective Parker, [introduced myself to Seneca and
he agreed to come to LPD headquarters for an audio and video recorded
interview.

12. During the interview, in which Seneca agreed to waive his Miranda rights
and make a statement, Seneca discussed his preparations for the attempted
murder and dismemberment of White. Seneca confirmed that he first chatted
with White on Grindr and then transitioned their electronic conversations to
Snapchat2. Seneca also stated that his purpose for using Grindr was to lure
White to his father’s house, and he considered it fair to describe Grindr as his
“hunting ground.” Seneca further remarked that he used an internet-based
retailer, Amazon, to purchase several of the items that he used in the course

of the attempted murder.

 

2 S§napchat is an internet-based multimedia messaging app developed by Snap Inc.,
originally Snapchat Inc. One of the principal features of Snapchat is that pictures and
messages are usually only available for a short time before they become inaccessible to their
recipients.
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13. Seneca also provided additional details regarding his attempted murder of
White. Among other things, Seneca explained that he held a firearm to
White’s back and told White that he could “do this the easy way or the hard
way” when referencing White being handcuffed. Seneca described this act as
a “dark joke.”

14. Based on Seneca’s confessionthat he used false representations to lure White
into his automobile and into an isolated home for the purpose of murdering
and dismembering White, as well as Seneca’s use of internet-based retailers,
a cellphone, and internet-based social media applications such as Grindr and
Snapchat in furtherance of his plan, there exists sufficient probable cause to
show that Seneca unlawfully inveigled White for the purpose of trying to
murder and dismember him through the use of one or more facilities and

instrumentalities ofinterstate commerce.

Conclusion

Based on the information set forth above, it is respectfully submitted that there
is probable cause to believe that Seneca is in violationof Title 18, United States Code,
Section 1201(a)(1), kidnapping. Due to these facts, it is requested that an arrest

warrant be issued for Seneca.
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I declare that the information provided above is true and correct to the best of

my knowledge and belief.

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DanielS. English ~
Special Agent
Federal Bureau of Investigation

SUBSCRIBED AND SWORN TO before me this _4@4day of August, 2020,

at Lafayette, Louisiana.

         

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* PATRICK: HANNA
United StatéS Magistrate Judge
